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                    EXHIBIT A
                                   3/23/2021 2:51:30 PM
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                      Case 4:21-cv-03645-YGR  Document 1-1PAGE
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                                                                  1/001   Page 2 of 8
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                                          (FAX TRANSMISSION) To: 15102671546 From: 15108324364 Pages:8

                                                                                                                                                      SUM-100
                                                    SUMMONS                                                             (
                                                                                                                           FOR COURT USE ONLY
                                                                                                                         SOLO PAPA USO DE LA COATS)
                                          (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV180AL DEMANDADO):
   Costco Wholesale Corporation, DOES 1-20, inclusive                                                        FILED BY FAX
                                                                                                               ALAMEDA COUNTY

 YOU ARE BEING SUED BY PLAINTIFF:                                                                                March 19, 2021
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                              CLERK OF
   Rhoda Paul                                                                                                THE SUPERIOR COURT
                                                                                                             By Keisha Ghee, Deputy


    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and lega papers are served on you to flea written response at this court and have a copy
   served on the plaintiff. A etter or phone call will not protect you. Your written response must be in pmper legal form if you want the court to hear you,
    case. The'e may be a caul form that you can use for your response. You can find these cowlforms and more information at the California Courts
   Online Se f-Help Center (www.couninfo.cagovisellhelp), your county law ibrary, or the Pourtiouse nearest you. If you cannot pay the filing fee, ask
   the court clerk fo• a fee waiver form. If you do not file your response on trite, you may lose the case by default, and your wages, money, and property
    may be taken without further warning Pam the court.
        There are other legal requirements. You may want to call an attorney r•ght away. If you do not know al attorney, you may want to call an attorney
    referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.(awhelocalifornia.nro), the California Courts Online Self-Help Center
  (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arthration award of $10,000 or more in a civil case. The courts lien must be paid before the court wit dismiss the case.
  '  AVOW Lo han demandado. Si no resportde denim de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea la informacton a
   continuacion.
       Tiene 300/AS DE CALENDARIO despues de que le entreguen esra citacion y papeles legates pars presenter una respuesta par escrito an esta
   carte y hacer que se entregue una copia al demandante. Una carte o tins Hamada telefenica no lo protegen. Su respuesta par escrito Ilene que ester
   en fermate legal carrectnsi riesea qua pmce.sen su case en la owe. Es pnsible qua hays tin Inrrnirlann qua awed pnetia agar pars sir respiresta.
   Puede encontrar estos formularies de la eerie y mas informackm en el Centro de Ayuda de las Canes de California (vww.sucorte.ca.gov), en la
   biblioteca de(eyes de su condado o en la cone que le quede mas cerca. Si no puede pager Ia cuota de presentacien, pida alsecreted° de la cone
   que le de un forrnulario de exermit5n de pago de cuotas. Si no presenta so respuesta a tiempo, puede perder el caso par incumplimiento y la carte le
   podra guitar su suede, diner° y bienes sin mds advertencia.
      Hay afros requisitos legates. Es recomendable que name a un abogado inmediatamente. Si no conoce a un abogado, puede!lamer a un servicio de
   remision a abogados. Si no puede pagar a un abogado, as posible que cumpla con los requisitos para obtenerservicMs regales gratuitas de on
   programa de servicias legates sin fines de lucre. Puede encontrar estas grupos sin lines de lucre en of sitio web de California Legal Services,
  (wwww.lawhelpcalifornia.org). err el Centro de Ayuda de las Carter de California.(www.sucorte.ca.gov)a poniendose en coma= can fa carte o el
   colegio de abogados locales. AVISO:Pot ley, la cone tiene derecho a reclamar las cuotas y los costos exentos parimporter un gravamen sabre
   cue/quiet recuperacian de $10,000 6 mas de valor recibida mediante on acuerdo o una concesion de areitraje en un caso de derecho civil. Tiene que
   pager el gravamen de is cone antes de que la cotta puede desechar el caso.
 The name and address of the court is:                                                         CASE NUMBER:
                                                                                              (rILYTWO  Co):
 (El nombre y direccion de la cone es):
  County of Alameda                                                                                              RG21092675
  Northern Division
  1225 Fallon Street, Oakland, CA 94612
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
 (El nombre, la direcciOn y el ntimem de telefono del abogado del demandante, o del demandante que no Ilene abogado, es):
  Martin Zurada, 218235                                   (510) 832-4295
                                                                                              Adag._
  Venardi Zurada LLP, 1418 Lakeside Drive, Oakland, CA 94.612                                dbtal
 DATE:            March 19, 2021                                      Clerk, by                                                                       , Depu
                                                                                                                                                        Deputy
 (Fecha)                                                              (Secretario)                                                                    (Ad/unto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citation use of formulario Proof of Service of Summons,(P05-010)).
                                — NOTICE TO THE PERSON SERVED: You are served
                                   1.               r--1
                                           as an individual defendant.
                                           as the person sued under the fictitious name of (specify):
                                   2.


                                             3,            on behalf of (specify):

                                                    under: LJ CCP 416.10(corporation)                      CCP 416.60 (minor)
                                                           I—I CCP 416.20(defunct corporation)         -
                                                                                                       1 1 CCP 416.70(conservatee)
                                                                 I
                                                               CCP 416.40 (association or partnership)     CCP 416.90(authorized person)
                                                                   other (specify):
                                             4             by personal delivery on (date):
                                                                                                                                                         Pzno 1 or
                                                -
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                                                      (FAX TRANSMISSION) To: 15102671546 From: 15108324364 Pages:8

                                                                                                                                                          PLD-PI-001
      AMANEY OR PARTY WITHOUT ATTCRNEY!Rams. ZiT8D3 Bar numbe(. and address):                                                       FCM ClUIRTOW ONLY

         Martin Zurada, 218235                                                                                          FILED BY FAX
         Venardi Zurada LLP                                                                                              ALAMEDA COUNTY
         1418 Lakeside Drive
         Oakland, CA 94612                                                                                                 March 19, 2021
               TELEPHONE NO: (510) 832-4295                   FAX rma(000m0:(510)832-4364                                     CLERK OF
      E-MAIL ADDRESE (Opeanob: mzurada@vefirm.DOM                                                                       THE SUPERIOR COURT
         ATTORNE" FOR (Nem s): RilCda PEILI1                                                                            By Keisha Ghee, Deputy

     SUPERIOR COURT OF CALIFORNIA,COUNTY OF ALA.MEDA                                                                    CASE NUMBER:
          STREET ADDRESS: 1225 FALLON STREET                                                                                RG21092675
          MAILING ADDRESS:
         crry AV()ZP CODE: Oakland, CA 94612
             BRANCH NAME: Northern Division
              PLAINT!==: Rhoda Paul

                   L)=F-ENUAN               Costco Wholesale Corporation

    El DOES 1 TO 20,             inclusive
    COMPLAINT—Personal Injury, Property Damage, Wrongful Death
        El AMENDED (Number);
    Type (check all that apply):
    FT MOTOR VEHICLE           El OTHER (specify): General Negligence
              Property Damage      I—I Wrongful Death
              Personal Injury      -
                                   I 7 Other Damages (specify):
     Jurisdiction (check all that apply):                                                                                CASE NUMBER:
    -
    I 1 ACTION IS A LIMITED CIVIL CASE
          A mount demanded             does not exceed $10000
                                 El exceeds $10,000, but does not exceed $25,000
    F-1 ACTION IS AN UNLIMITED CIVIL CASE(exceeds $25,000)
    1 1 ACTION IS RECLASSIFIED by this amended complaint
    -
                from limited to unlimited
                from unlimited to limited
  1. Plaintiff(name or names): Rhoda Paul
     alleges causes of action against defendant(name or names):
     Costco Wholesale Corporation
  2. This pleading, including attachments and exhibits, consists of the following number of pages: 4
  3. Each plaintiff named above is a competent adult
     a. -
        1   1 except plaintiff (name):
             (1) I—I a corporation qualified to do business in California
             (2) ni an unincorporated entity (describe):
             (3) El a public entity (describe):
             (4) I—I a minor F-1 an adult
                       (a) - 1   1 for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b) El other (specify);
             (5) El other (specify):
        b.   F-1        except plaintiff(name):
                       (1) L7 a corporation qualified to do business in California
                       (2) El an unincorporated entity (describe):
                       (3)-1    1 a public entity (describe):
                       (4)        a minor . El an aduit
                             •: (a) 1-71 .for whom a guardian or conservator.of the estate or a guardian ad litem has beeroppointed
                                 (13) ni other (specify):
                       (5)     1-1other (specify):

                 tritormation'about addition'al.plaintiffs who are not competent adults is shown in Attachment:3,,
                                                                                                                                                                  Pagt 1 of
 • Form Appmvcittni h!ilrmal .in. .... .. .., .... ..7 • ‘, ''''.'•. •   .' "
                                                                            '   COMPLAINT-Pers'orialltijury, Property              ,pr•   • Cr.rle nerIMI'PeebIiafun te'S        '
   • Jueldd Cot, !!o Ou!IfornIn                                                                                                             ••       —1919ff.cste_rbifb,4p•sav
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                          Case 4:21-cv-03645-YGR Document 1-1 Filed 05/14/21 Page 4 of 8

                                                                                                                                  PLD-PI-001
     SHORT TITLE:                                                                                     CASE NUMBER:

     Paul vs. Costco Wholesale Corporation


 4.           Plaintiff(name):
              is doing business under the fictitious name (specify):

         and has complied with the fictitious business name laws.
 5. Each defendant named above is a natural person
    a.      except defendant(name): Costco Wholesale Corporation          c.       except defendant(name):
           (1) FT a business organization, form unknown                            (1) -
                                                                                       1   1 a business organization, form unknown
           (2) r---1 a corporation                                                 (2) -
                                                                                       1 1 a corporation
           (3)       an unincorporated entity (describe):                          (3)       an unincorporated entity (describe):

                 (4) F-7a public entity (describe):                                (4)   1---1 a public entity (describe):
                 (5) ni other (specify):                                           (5) El other (specify):




      b.   ni except defendant(name):                                     d.       (except
                                                                                      cept
                                                                                       r_idefendant(name):
                 (1) El a business organization, form unknown                             a business organization, form unknown
                 (2) F-7a corporation                                              (2) 71 a corporation
                 (3)    an unincorporated entity (describe):                       (3) 17 an unincorporated entity (describe):

                 (4)            a public entity (describe):                        (4) 71 a public entity (describe):

                 (5)            other (specify):                                   (5)         other (specify):


      in Information about additional defendants who are not natural persons is contained in Attachment 5.
6.      The true names of defendants sued as Does are unknown to plaintiff.
        a.       Doe defendants (specify Doe numbers): 1-10                            were the agents or employees of other
                 named defendants and acted within the scope of that agency or employment.
        b.    Doe defendants (specify Doe numbers): 11-20                            are persons whose capacities are unknown to
              plaintiff.
7.     F-1 Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.      This court is the proper court because
        a. -
           1 7 at least one defendant now resides in its jurisdictional area.
        b.        the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
        c.   ri   injury to person or damage to personal property occurred in its jurisdictional area.
        d. -
           1    1 other (specify):




   1 1 Plaintiff is required to comply with a claims statute, and
9. -
    a. El has complied with applicable claims statutes, or
    b.     is excused from complying because (specify):




PLO:PI
    . -B0,11Rev. Januaiy 1, 20071                     COMPLAINT—Personal Injury, Property                                             :Paga 2 of 5

                                                           Manage, Wrongful Death
                        Case 4:21-cv-03645-YGR Document 1-1 Filed 05/14/21 Page 5 of 8

                                                                                                                                 PLD-PI-001
  SHORT TITLE:                                                                                    CASE NUMBER:

  Paul vs. Costco Wholesale Corporation


 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a. E-1 Motor Vehicle
      b. El General Negligence
     c. -1  1 Intentional Tort
     d. ni P• roducts Liability
     e. F-1 Premises Liability
     f. -I 7 O• ther (specify):



 11. Plaintiff has suffered
     a. -1 7 wage loss
     b. -I    1 loss of use of property
     c. -I 7 hospital and medical expenses
     d.         g• eneral damage
     e. -1 7 p• roperty damage
     f.         loss of earning capacity
     g. El other damage (specify):
                Pain and suffering




 12.   ni The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       a. Ei listed in Attachment 12.
       b.   r-i a• s follows:




 13. The relief sought in this complaint is within the jurisdiction of this court.



14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1) ni c• ompensatory damages
       (2)      r---1
                  p• unitive damages
        The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
       (1)        according to proof
       (2) ni in the amount of: $

15. FT The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




Date: 3/19/21
           -
Martin Zurada
                           .(TYPE OR PRINT:NAME)                                          (SIGNATURE OF PLAINTIFF OR ATTORNEY)

PLD-P1,001,1Ree Jemmy 112007)                      COIZPLAINT--Personal Injury, Prope'rtyl:.''                                       Pago3of 3

                                                         Damage, Wrongful Death
                           Case 4:21-cv-03645-YGR Document 1-1 Filed 05/14/21 Page 6 of 8


                                                                                                                                   PLD-PI-001(2)
    SHORT TITLE:                                                                                    CASE NUMBER:

    Paul vs. Costco Wholesale Corporation


            One                                 CAUSE OF ACTION—General Negligence                                          Page             4
                           (number)

            ATTACHMENT TO                  Complaint ni Cross - Complaint
          (Use a separate cause of action form for each cause of action.)

            GN-1. Plaintiff(name): Rhoda Paul

                       alleges that defendant(name): Costco Wholesale Corporation




                                   En Does 1                   to   20

                       was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                       negligently caused the damage to plaintiff
                       on (date): 4/13/19
                       at(place): Costco Wholesale Corporation located at 2800 Independence Drive, Livermore, CA 94551

                     (description of reasons for liability):
                      On April 13, 2019, Plaintiff, Rhoda Paul was shopping at Costco in Livermore, California. While Plaintiff was
                      returning her shopping cart, defendant's employee was moving the carts and struck plaintiff on the left side of her
                      body, causing injury. Plaintiff sustained severe and traumatic injuries as a result. A Costco Wholesale Corporation
                      employee, acting within the course and scope of their employment, negligently pushed the shopping carts into
                      Plaintiff, breached the duty ofcare owed to Plaintiff and was the substantial factor in causing Plaintiffs damages
                      alleged herein. Defendant Costco Wholesale Corporation also negligently trained and supervised its employee.




                                                                                                                                            :

                                                                                                                                             pAga i
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                .       •    1, 2007)
             Case 4:21-cv-03645-YGR Document 1-1 Filed 05/14/21 Page 7 of 8

      Venardi Zurada LLP                                1             1                                                    1
      Attn: Zurada, Martin
      1418 Lakeside Drive
      Oakland, CA 94612
                                                                                                 RECEIVED -1
                          Superior Court of California, County of AlamedaMAR 26 2021
   Paul                                                                          No. RG21092675
                                         Plaintiff/Petitioner(s)
                                 VS.                                   NOTICE OF CASE MANAGEMENT
                                                                         CONFERENCE AND ORDER
   Costco Wholesale Corporation                                             Unlimited Jurisdiction
                             Defendant/Respondent(s)
                        (Abbreviated Title)

  TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  Notice is given that a Case Management Conference has been scheduled as follows:

Date: 08/02/2021         Department: 517                                               Judge: Stephen Pulido
Time: 03:00 PM             Location: Hayward Hall of Justice                           Clerk: Kasha Clarke
                                     3rd Floor                                         Clerk telephone: (510)690-2726
                                     24405 Amador Street, Hayward CA 94544             E-mail:
                                                                                       Dept517@alameda.courts.ca.gov
                              Internet: www.alameda.courts.ca.gov                      Fax:

                                                            ORDERS
  1. Plaintiff must:

            a. Serve all named defendants and file proofs of service on those defendants with the court within 60 days
               of the filing ofthe complaint(Cal. Rules of Court, 3.110(b)); and

            b. Give notice of this conference to all other parties and file proof ofservice.
 2. Defendant must respond as stated on the summons.
 3. All parties who have appeared before the date of the conference must:
           a.    Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724;
           b. File and serve a completed Case Management Statement on Form CM-110 at least 15 days before the
              Case Management Conference (Cal. Rules of Court, rule 3.725); and
           c. Post jury fees as required by Code of Civil Procedure section 631.
 4. If you do not follow the orders above, the court may issue an order to show cause why you should not be
    sanctioned under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings
    or dismissal of the action.

 5. You are further ordered to appear in person or through your attorney of record at the Case Management
    Conference noticed above. You must be thoroughly familiar with the case and fully authorized to proceed. You
    may be able to appear at Case Management Conferences by telephone. Contact CourtCall, an independent
    vendor, at least three business days before the scheduled conference. Call 1-888-882-6878, or fax a service
    request to (888)882-2946. The vendor charges for this service.

      You may file Case Management Conference Statements by E-Delivery. Submit them directly to the E-Delivery
      Fax Number(510)267-5732. No fee is charged for this service. For further information, go to
      www.alameda.courts.ca.gov/ff

      The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
      conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
               , such as mediation or arbitration. Check the website of each assigned department for procedures
  • , Resolution,'
 . regarding tentative case management orders at www.alameda.courts.ca.gov/dc.

    .         .                      .
„Form Aporgygd.for Mandatory Use              NOTICE OF CASE MANAGEMVNT CONFERENCE AND ORDER                Page 1 of 2
'Siipefior CourforCalifornia, Couritjf
 of Alameda
 ALA CIV-100[Rev. 07-01-2015]
              Case 4:21-cv-03645-YGR Document 1-1 Filed 05/14/21 Page 8 of 8



                                                  CLERK'S CERTIFICATE OF MAILING
 I certify that the following is true and correct: I am the clerk of the above-named court and not a party to this cause. I served this Notice of
 Hearing by placing copies in envelopes addressed as shown hereon and then by sealing and placing them for collection, stamping or metering
 with prepaid postage, and mailing on the date stated below, in the United States mail at Alameda County, California, following standard court
 practices.
                       Executed on 03/25/2021.

                                                                   By
                                                                                   tkai"""
                                                                                                       Deputy Clerk




Form Approved for Mandatory Use..                 NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                                   Page 2 of 2
Superior Court of California, County
of Alameda
ALA CIV-100[Rev. 07-01-2015]
